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                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA


                                           CIVIL MINUTES – GENERAL

 Case No.           ED CV12-01459 JAK (RZx)                                       Date   January 7, 2014
 Title              GunVault, Inc. v. Wintrode Enterprises, Inc.




 Present: The Honorable                 JOHN A. KRONSTADT, UNITED STATES DISTRICT JUDGE
                       Andrea Keifer                                            Not Reported
                       Deputy Clerk                                       Court Reporter / Recorder
                Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:
                          Not Present                                            Not Present

 Proceedings:                 (IN CHAMBERS) ORDER:
                              1. CONTINUING HEARING ON MOTION TO DISMISS (Dkt. 70);
                              2. VACATING HEARING ON MOTION FOR SUMMARY JUDGMENT (Dkt.
                                  72); PROVIDING NOTICE THAT THE COURT WILL TREAT THE
                                  MOTION TO DISMISS AS A MOTION FOR SUMMARY JUDGMENT;
                                  PROVIDING PLAINTIFF AN OPPORTUNITY TO SUBMIT
                                  SUPPLEMENTAL EVIDENTIARY MATERIALS; and
                              3. DENYING DEFENDANT’S EX PARTE APPLICATION TO EXCEED
                                  PAGE LIMITATION (Dkt. 89)

Defendant Wintrode Enterprises, Inc. (“Defendant”)’s motion to dismiss, Dkt. 70, and motion for summary
judgment, Dkt. 72, are currently set for hearing on January 13, 2014. By this Order, the Court hereby
continues the hearing on the motion to dismiss to February 10, 2014 at 8:30 a.m., and vacates the
hearing on the motion for summary judgment. Whether a hearing on the motion for summary judgment
will be reset will be determined in connection with the decision on the motion to dismiss.

Because certain evidentiary matters have been presented in connection with the motion to dismiss, Dkt.
70, given the substantial period of time that this matter has been pending (see discussion in Dkt. 65,
which is incorporated by this reference), and in light of the scheduled trial date of March 4, 2014, the
motion to dismiss will be treated as a motion for summary judgment. Although the parties already have
submitted evidentiary materials in support of, and in opposition to, the motion to dismiss, the Court now
provides Plaintiff GunVault, Inc. (“Plaintiff”) the opportunity to submit supplemental evidentiary materials,
and/or to seek to make a showing pursuant to Fed.R.Civ.P. 56(d). Any such submission shall be filed no
later than Tuesday, January 21, 2014, and may be accompanied by a brief of no more than 5 pages
identifying and describing any such evidentiary materials, but without any further legal argument. By
providing this opportunity to Plaintiff, the Court is neither requiring any such supplemental filing nor
suggesting that it is necessary in light of the materials presented by each side in connection with what
was heretofore the motion to dismiss. Instead, the Court is offering this opportunity because it has
converted that motion to one for summary judgment.

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                                  UNITED STATES DISTRICT COURT
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Finally, Defendant’s ex parte motion to extend page limits for its summary judgment reply brief, Dkt. 89, is
DENIED. No good cause has been shown for the need to file a reply of twice the permitted length. Indeed,
Defendant already filed a 10-page reply brief (Dkt. 88) as well as approximately 90 pages of evidentiary
material.


IT IS SO ORDERED.
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                                                           Initials of Preparer   ak




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